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                              United States District Court
                                  SOUTHERN DISTRICT OF GEORGIA
                                       BRUNSWICK DIVISION

                       CHANGE OF PLEA/ENTRY OF PLEA MINUTES


Case No. CR218-47
United States of America
         vs.                                                    Greg Gilluly
                                                                ____________________________________
Donald Adams
1:07 - 1:45                                                     U. S. Attorney
___________________________                                     Alan Tucker
                                                                ____________________________________
 Defendant/Age                                                  Attorney for Defendant


   ✔ Plea agreement (Received).                ✔ Defendant Sworn                 Counsel Waived.

       Plea agreement previously filed.

       Arraigned and plead _______________________ to count(s) _________________________________ .
   ✔ Plea of not guilty withdrawn and plea of _________________________________
                                                            Guilty              entered as to count(s)
                  One (1)
       ____________________________ of the indictment/information.
                                           indictment.
                                                                                   Det. Lowrey
   ✔ Factual basis Established. Oral. Plea
                   __________________      Accepted Witness for factual basis ____________________ .
                                      ____________
   ✔ Adjudication of guilt ________
                            Made.
   ✔ Referred to probation office for pre-sentence investigation Yes.
                                                                 ____
   ✔ Sentencing Scheduled for _________________________
                                      Later Date                        TBD
                                                        at ______________________________ .

       Bond Continued      ____            Bond modified to _________________________ .

       Bond set at _____________________     _________
   ✔ Bond not made defendant in jail.

   ✔ Defendant remanded to custody of United States Marshal.

   Defendant makes oral motion for release on bond. Court instructs defense to make any motion for bond in
   writing on the record for the Court to consider.



Honorable Lisa Godbey Wood, U. S. District Court Judge          Date 05/13/2019
Court Reporter      Debra Gilbert                               Probation Officer Scot Riggs
Courtroom Deputy Clerk     Whitney Sharp                        U.S. Marshal Marty / Jay
